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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


In re: PHARMACEUTICAL INDUSTRY           )          MDL No. 1456
AVERAGE WHOLESALE PRICE                  )
LITIGATION                               )          Civil Action No. 01-12257-PBS
__________________________________       )
                                         )          Judge Patti B. Saris
THIS DOCUMENT RELATES TO:                )
United States of America ex rel.         )          Magistrate Judge Marianne B. Bowler
Ven-a-Care of the Florida Keys, Inc., v. )
Abbott Laboratories, Inc.                )
CIVIL ACTION NO. 06-11337-PBS            )
____________________________________)




             UNOPPOSED MOTION BY THE UNITED STATES
        FOR LEAVE TO FILE REPLY TO ABBOTT’S OPPOSITION TO
   THE MOTION TO QUASH ABBOTT’S OUT-OF-TIME DEPOSITION NOTICES

       The United States respectfully files this unopposed motion for leave to file a reply to

defendant Abbott Laboratories, Inc.’s (“Abbott’s”) memorandum in opposition to the

Government’s motion to quash out-of-time deposition notices (Dkt. 6586). The United States

respectfully suggests that by allowing the Government to file a response to Abbott’s opposition

memorandum, the Court will be able to make a more fully-informed decision regarding the

merits of the Government’s motion to quash deposition notices.
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 Respectfully Submitted,

 For the United States of America,

 MICHAEL K. LOUCKS                                TONY WEST
 ACTING UNITED STATES ATTORNEY                    ASSISTANT ATTORNEY GENERAL

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 October 26, 2009


                                CERTIFICATE OF SERVICE
      I hereby certify that I have this day caused an electronic copy of the above UNITED
STATES’ UNOPPOSED MOTION FOR LEAVE TO FILE REPLY TO ABBOTT’S
OPPOSITION TO THE MOTION TO QUASH ABBOTT’S OUT-OF-TIME DEPOSITION
NOTICES to be served on all counsel of record via electronic service by sending a copy to
LexisNexis File & Serve for posting and notification to all parties.

Date: October 26, 2009
                                                    /s/ Justin Draycott
                                                      Justin Draycott



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